                 Case No. 1:23-cv-00555-GPG-STV                                             Document 1-1                    filed 03/01/23                USDC Colorado
JS 44 (Rev. 12/11)    District of Colorado Form                                pg 1 of 2SHEET
                                                                        CIVIL COVER
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a)                                                                                                    DEFENDANTS
          PLAINTIFFS
                                                                                                          CITY OF COLORADO SPRINGS, COLORADO
         MICHAEL SEXTON
                                                                                                          CHRISTINE SOMERSALMI, EDDIE NASSAR
         JAZZMEN LUEDERS
                                                                                                          County of Residence of First Listed Defendant Unknown
  (b) County of Residence of First Listed Plaintiff                                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                  TRACT OF LAND INVOLVED.

  (c)     Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
         Andy McNulty, Killmer, Lane & Newman                                                             Unknown
         1543 Champa Street, Suite 400, Denver, CO
         303-571-1000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                      (For Diversity Cases Only)                                       and One Box for Defendant)
    1 U.S. Government               ✖ 3 Federal Question                                                                      PTF          DEF                                            PTF       DEF
        Plaintiff                         (U.S. Government Not a Party)                                                                             Incorporated or Principal Place
                                                                                                 Citizen of This State               1        1                                                 4       4
                                                                                                                                                    of Business In This State

    2 U.S. Government                   4 Diversity                                              Citizen of Another State            2        2     Incorporated and Principal Place            5       5
        Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3        3     Foreign Nation                              6       6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                   TORTS                                         FORFEITURE/PENALTY                        BANKRUPTCY                        OTHER STATUTES
   110 Insurance                      PERSONAL INJURY     PERSONAL INJURY                            625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                         310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    400 State Reapportionment
   130 Miller Act                     315 Airplane Product                Product Liability                                                   28 USC 157                    410 Antitrust
   140 Negotiable Instrument              Liability                   367 Health Care/               690 Other
                                                                                                                                         PROPERTY RIGHTS                    430 Banks and Banking
                                      320 Assault, Libel &               Pharmaceutical
   150 Recovery of Overpayment            Slander                                                                                                                           450 Commerce
                                                                         Personal Injury                                                  820 Copyrights
    & Enforcement of Judgment         330 Federal Employers’             Product Liability                                                830 Patent                        460 Deportation
   151 Medicare Act                       Liability                   368 Asbestos Personal                                               840 Trademark                     470 Racketeer Influenced and
   152 Recovery of Defaulted          340 Marine
                                                                      Injury Product Liability                LABOR                      SOCIAL SECURITY                        Corrupt Organizations
   Student Loans (Excl. Veterans)     345 Marine Product
                                                                    PERSONAL PROPERTY                710 Fair Labor Standards                                               480 Consumer Credit
   153 Recovery of Overpayment            Liability                                                                                       861 HIA (1395ff)
                                      350 Motor Vehicle               370 Other Fraud                    Act
       of Veteran’s Benefits                                                                                                              862 Black Lung (923)              490 Cable/Sat TV
                                      355 Motor Vehicle               371 Truth in Lending           720 Labor/Mgmt. Relations
   160 Stockholders’ Suits                                                                                                                863 DIWC/DIWW (405(g))            850 Securities/Commodities/
                                          Product Liability           380 Other Personal
   190 Other Contract                                                                                740 Railway Labor Act                864 SSID Title XVI                    Exchange
                                      360 Other Personal Injury          Property Damage                                                                                    890 Other Statutory Actions
   195 Contract Product Liability                                                                    751 Family and Medical               865 RSI (405(g))
                                     362 Personal Injury -            385 Property Damage                Leave Act
   196 Franchise                                                                                                                                                            891 Agricultural Acts
                                         Med. Malpractice                Product Liability
         REAL PROPERTY                CIVIL RIGHTS                  PRISONER PETITIONS               790 Other Labor Litigation              TAX SUITS                      893 Environmental Matters
   210 Land Condemnation            ✖ 440 Other Civil Rights          Habeas Corpus:                 791 Empl. Ret. Inc.                  870 Taxes (U.S. Plaintiff
                                                                                                                                                                            895 Freedom of Information Act
   220 Foreclosure                     441 Voting                      463 Alien Detainee                Security Act                          or Defendant)                896 Arbitration
   230 Rent Lease & Ejectment          442 Employment                 510 Motions to Vacate                                               871 IRS - Third Party             899 Administrative Procedure
   240 Torts to Land                                                   Sentence                                                                26 USC 7609                     Act/Review or Appeal of
                                       443 Housing/                                                      IMMIGRATION
                                          Accommodations              530 General                                                                                              Agency Decision
   245 Tort Product Liability
                                       445 Amer. w/Disabilities -     535 Death Penalty             462 Naturalization Application                                          950 Constitutionality of
   290 All Other Real Property
                                          Employment                  Other:                        465 Other Immigration                                                       State Statutes
                                       446 Amer. w/Disabilities -     540 Mandamus & Other              Actions
                                          Other
                                                                      550 Civil Rights
                                       448 Education
                                                                      555 Prison Condition
                                                                      560 Civil Detainee -
                                                                    Conditions of Confinement
V. ORIGIN              (Place an “X” in One Box Only)                                                                                                                                   Appeal to District
 ✖ 1 Original
                                                                                                                      Transferred from
                             2 Removed from               3 Remanded from            4 Reinstated or               5 another district              6 Multidistrict                    7 Judge from
      Proceeding               State Court                  Appellate Court          Reopened                         (specify)                       Litigation                        Magistrate Judgment
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        42 USC 1983, CRS 13-21-131
VI. CAUSE OF ACTION                     Brief description of cause:                                 AP Docket

                                        Violations of the First and Fourth Amendment

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                                                                       CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER F.R.C.P. 23              DEMAND $                                                               JURY DEMAND:       ✖ Yes        No

DATE                                                                SIGNATURE OF ATTORNEY OF RECORD

March 1, 2023                                                       s/ Andy McNulty
FOR OFFICE USE ONLY

  RECEIPT #                      AMOUNT                                 APPLYING IFP                                       JUDGE                            MAG. JUDGE
                   Case No. 1:23-cv-00555-GPG-STV                         Document 1-1               filed 03/01/23           USDC Colorado
     JS 44 Reverse (Rev. 12/11) District of Colorado Form                  pg 2 of 2
                           INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                 Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required
for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each
civil complaint filed. The attorney filing a case should complete the form as follows.

I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.

        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)

        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment noting,
noting in this section “(see attachment)”.

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings.    Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box


Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV.      Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than on e nature
of suit, select the most definitive.

V.        Origin. Place an “X” in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause.     Do not cite jurisdictional
statutes unless diversity.            Example:                            U.S. Civil Statute: 47 USC 553
                                      Brief Description:                   Unauthorized reception of cable service
                                                Or:                        “AP Docket”

VII.      Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.

Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
